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                             Exhibit 14
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )                  MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY               )                  Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION          )                  Subcategory Case No. 06-11337
___________________________________________)
                                            )                  Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                   )
State of California, ex rel. Ven-A-Care     )                  Magistrate Judge
of the Florida Keys, Inc. v.                )                  Marianne B. Bowler
Abbott Laboratories, Inc., et al.           )
Case No: 1:03-cv-11226-PBS                  )
___________________________________________ )


                 DECLARATION OF JEFFREY J. LEITZINGER, PH.D.,
                      REGARDING DEFENDANT SANDOZ

              I, Jeffrey J. Leitzinger, do hereby declare as follows:

       1.     I am an economist and President of Econ One Research, Inc., an

economic research and consulting firm.         I have master’s and doctoral degrees in

economics from the University of California at Los Angeles.             I have worked as a

consultant on economic issues over the past 30 years, a significant portion of which has

involved the analysis and calculation of damages. I have personal knowledge of the

matters stated in this declaration, and, if called upon to do so, could competently testify

thereto.

       2.     I have been retained by the California Department of Justice to provide

consulting services in connection with the State of California’s (“the State’s”) claims

against, among others, Sandoz, Inc. (“Sandoz”), in the above captioned action, State of

California, ex rel. Ven-A-Care of the Florida Keys, Inc. v. Abbott Laboratories, Inc., et al.

Attached hereto as Exhibit A is a true and correct copy of the June 30, 2009 report that I




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prepared for this matter with respect to Sandoz (“my report”). My report accurately

details the analysis and calculations that I performed in this engagement.

        3.      As stated in paragraph 5 of my report, I was asked by the California

Department of Justice to do, among other things, the following:

                a.      Determine the amounts (total ingredient costs only) that Medi-Cal

        actually reimbursed on claims by providers for Sandoz’s 149 identified NDCs1

        during the period from January 1, 1994 through December 31, 2004.

                b.      Determine the amounts (total ingredient costs only) that Medi-Cal

        would have reimbursed if the reported average wholesale prices (“AWPs”)

        reasonably approximated the actual prices currently paid by the wholesalers’

        customers for those NDCs over that same time period, insofar as such prices can

        be determined from Sandoz’s business records. In making that determination, I

        was asked to assume that, if the reported AWPs had been reasonable

        approximations of the actual prices paid by the wholesalers’ customers, then

        Medi-Cal would not have required any offsets from the reported AWPs (i.e., AWP

        less 5 percent, AWP less 10 percent, AWP less 17 percent).

                c.      Calculate the State’s aggregate overpayment (the difference

        between using (a) and (b) as the basis for payment), excluding overpayments

        that arise from any and all claims where the reimbursement amount paid by

        Medi-Cal (total ingredient cost only) was less than 25 percent above the average

        net price paid by wholesalers to Sandoz for the relevant NDC.


1
  In my report, I use the terms “product,” “drug product,” or “pharmaceutical product” synonymously with
the term “NDC” (National Drug Code). For the purposes of this declaration, the term NDC is used at all
times in a manner consistent with the terms “product,” “drug product,” or “pharmaceutical product” as
used in my report.



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      4.     As explained in paragraphs 12-20 of my report, I use data provided by

Sandoz to estimate average prices paid by wholesalers’ customers for each of the 149

relevant Sandoz NDCs. I begin with the average net prices that wholesalers paid to

Sandoz each quarter for each NDC and then apply a wholesaler markup to those prices

to estimate the average net quarterly price that was paid to wholesalers by their

customers.

      5.     Exhibit 4 to my report shows, in column (6), the “spread” (the difference

between the average net quarterly prices described above and the reported AWP) for

each of the 149 relevant Sandoz NDCs on a quarter-by-quarter basis from the first

quarter of 1994 through the fourth quarter of 2004.

      6.     For over 95 percent of the Sandoz NDC/quarter combinations for which I

have complete data, the AWP reported by Sandoz exceeded the average net quarterly

prices paid by wholesalers’ customers by at least 100 percent.      For most of these

NDC/quarter combinations (82 percent), the spread exceeded 300 percent, with some

even greater than 2,000 percent.

      7.     In calculating the overpayments made by the State for the 149 relevant

Sandoz NDCs, I exclude claims for which the actual reimbursement did not exceed the

average net price paid by wholesalers to Sandoz by at least 25 percent. For each

remaining claim, I calculate the overpayment as the difference between the actual

ingredient cost reimbursed by the State and an amount that is 25 percent above the

average net price paid by wholesalers to Sandoz.

      8.     As stated in paragraph 24 of my report, I believe, based on my training

and experience, that the methodology I use in my report is economically appropriate for




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determining losses incurred by Medi-Cal as a direct and proximate result of Sandoz

reporting AWPs that exceeded a reasonable approximation of the actual prices paid by

the wholesalers’ customers for Sandoz’s 149 identified NDCs during the time frame at

issue, based on information contained in Sandoz’s contemporaneous business records.



             I declare under penalty of perjury that the foregoing is true and correct.

Executed this 19th day of November 2009 in Los Angeles, California.




                                                           ______________________
                                                            Jeffrey J. Leitzinger, Ph.D.




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